RAB/LB
F.#2023R00527

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

---------------------------X
 UNITED STATES OF AMERICA

       - against -                        Docket No. 23-CR-516 (KAM)

CHRISTOPHER TERRANOVA,


                  Defendant.
---------------------------X




                       THE GOVERNMENT’S MOTIONS IN LIMINE




                                          BREON PEACE
                                          United States Attorney
                                          Eastern District of New York

Rachel A. Shanies
Lauren Bowman
Assistant U.S. Attorneys
       (Of Counsel)
                                                          TABLE OF CONTENTS

PRELIMINARY STATEMENT .................................................................................................... 1

RELEVANT BACKGROUND ...................................................................................................... 2

ARGUMENT .................................................................................................................................. 6

   I.         The Court Should Issue an Order of Protection Pursuant to 18 U.S.C. §§ 3509(d)(3)(A)
              and 3771 Protecting the Victims’ Names and Other Identifying Information From Public
              Disclosure ........................................................................................................................... 6

         A.         Applicable Law .............................................................................................................. 6

         B.         Discussion .................................................................................................................... 10

   II.        Evidence and Argument Regarding Any Sexual Behavior of John Does 1-4 with Anyone
              Other Than the Defendant is Inadmissible Under Federal Rule of Evidence 412 ............ 14

         A.         Applicable Law ............................................................................................................ 14

         B.         Discussion .................................................................................................................... 15

              i. The Narrow Exceptions to Rule 412’s General Policy of Exclusion Do Not
              Apply................................................................................................................................. 15

              ii. The Exclusion of Other Sexual History Evidence Does Not Violate the Defendant’s
              Constitutional Right to Present a Defense ........................................................................ 16

              iii. Any Other Sexual History Evidence Should be Excluded Under Federal Rule of
              Evidence 403 ..................................................................................................................... 17

   III. Evidence Regarding the Defendant’s Possession of Child Sexual Exploitation Material
        Involving Minors Other than John Does 1-4 is Admissible ............................................. 18

         A.         Evidence Regarding the Defendant’s Possession of Child Sexual Exploitation Material
                    Involving Minors Other than John Does 1-4 is Admissible Pursuant to Federal Rule of
                    Evidence 414 ................................................................................................................ 19

              i.       Background of Federal Rule of Evidence 414 .......................................................... 19

              ii.      Discussion ................................................................................................................. 23

         B.         Evidence of the Defendant’s Possession of Child Sexual Exploitation Material
                    Involving Minors Other than John Does 1-4 is Admissible Pursuant to Federal Rule of
                    Evidence 404(b) ........................................................................................................... 26

              i.       Background of Federal Rule of Evidence 404(b) ..................................................... 26

                                                                            i
             ii.        Discussion ................................................................................................................. 27

                   a. Evidence of the Defendant’s Other Acts is Admissible Under Federal Rule of
                   Evidence 404(b) ............................................................................................................ 27

                   b.      The Defendant’s Other Acts are Not More Prejudicial than Probative ................ 29

   IV. The Court Should Allow The Undercover Law Enforcement Officer Who Communicated
       with the Defendant to Testify Using A Pseudonym or a UC Identifier ............................ 30

        A.         Applicable Law ............................................................................................................ 31

        B.         Discussion .................................................................................................................... 32

   V.        The Court Should Allow the Government to Admit Statements by John Doe 4 to His
             Mother Regarding the Charged Conduct For a Non-Hearsay Purpose............................. 34

        A.         Applicable Law ............................................................................................................ 34

        B.         Discussion .................................................................................................................... 36

   VI. The Court Should Allow the Government to Authenticate The Defendant’s Cellphone
       Extraction by Certification................................................................................................ 37

        A.         Applicable Law ............................................................................................................ 37

        B.         Discussion .................................................................................................................... 38

   VII. The Court Should Preclude Evidence and Argument Concerning Possible Punishment
        and Collateral Consequences ............................................................................................ 40

        A.         Applicable Law ............................................................................................................ 40

        B.         Discussion .................................................................................................................... 41

CONCLUSION ............................................................................................................................. 42




                                                                             ii
                                              TABLE OF AUTHORITIES


Cases

Alford v. United States, 282 U.S. 687 (1931)............................................................................. 7, 8

Alvarado v. Burge, No. 05-CV-1851, 2006 WL 1840020 (S.D.N.Y. June 30, 2006).................. 32

Ayala v. Speckard, 131 F.3d 62 (2d Cir. 1997) ............................................................................ 31

Brady v. Maryland, 373 U.S. 83 (1963) ....................................................................................... 33

California v. Green, 399 U.S. 149 (1970) ....................................................................................... 7

Chambers v. Mississippi, 410 U.S. 284 (1970) ........................................................................ 7, 31

Davis v. Alaska, 415 U.S. 308 (1974) .......................................................................................... 42

Delaware v. Fensterer, 474 U.S. 15 (1985)................................................................................... 31

Delaware v. Van Arsdall, 475 U.S. 673 (1986) ........................................................................ 7, 17

Doe v. United States, 666 F.2d 43 (4th Cir. 1981) ....................................................................... 17

Dutton v. Evans, 400 U.S. 74 (1970) ............................................................................................ 31

Giglio v. United States, 405 U.S. 150 (1972) ............................................................................... 33

Globe Newspaper Co. v. Sup. Ct. for Norfolk Cnty., 457 U.S. 596 (1982) ................................... 6

Johnson v. Elk Lake School Dist., 283 F.3d 138 (3d Cir. 2002) .................................................. 21

Jones v. Goodwin, 982 F.2d 464 (11th Cir. 1993)........................................................................ 18

Melendez-Diaz v. Massachusetts, 557 U.S. 305 (2009) ............................................................... 38

Nelson v. Crowley, No. 07-CV-849, 2009 WL 498909 (S.D.N.Y. Feb. 23, 2009)...................... 32

Roviaro v. United States, 353 U.S. 53 (1957) .............................................................................. 31

Shannon v. United States, 512 U.S. 573 (1994) ........................................................................... 40

Smith v. Illinois, 390 U.S. 129 (1968) ........................................................................................ 7, 8

Taylor v. Illinois, 484 U.S. 400 (1988) ......................................................................................... 16

United States ex rel. Lloyd v. Vincent, 520 F.2d 1272 (2d Cir. 1975) ......................................... 31

United States v. Alimehmeti, 284 F. Supp. 3d 477 (S.D.N.Y. 2018) ..................................... 32, 34

                                                                iii
United States v. Alvarez, 601 F. App’x 16 (2d Cir. 2015) ........................................................... 14

United States v. Anderson, 563 F. Supp. 3d 691 (E.D. Mich. 2021)............................................ 39

United States v. Archambault, 740 F. App’x 195 (2d Cir. 2018) ................................................. 20

United States v. Asainov, No. 19-CR-402 (NGG) (E.D.N.Y.) ..................................................... 32

United States v. Axsom, 761 F.3d 895 (8th Cir. 2014) ................................................................ 25

United States v. Baldassare, No. 11-CR-801 (JBW) (E.D.N.Y.) ................................................. 32

United States v. Barnason, 852 F. Supp. 2d 367 (S.D.N.Y. 2012) ............................................... 25

United States v. Bennett, 409 F.2d 888 (2d Cir. 1969)............................................................. 8, 12

United States v. Bifield, 702 F.2d 342 (2d Cir. 1983) .................................................................. 17

United States v. Blume, 967 F.2d 45 (2d Cir. 1992) .................................................................... 41

United States v. Bout, 651 Fed. App’x 62 (2d Cir. 2016) ............................................................ 38

United States v. Brand, 467 F.3d 179 (2d Cir. 2006) ................................................................... 29

United States v. Cavallaro, 553 F.2d 300 (2d Cir. 1977)................................................................ 8

United States v. Cephus, 684 F.3d 703 (7th Cir. 2012) ................................................................ 15

United States v. Colon, 880 F.2d 650 (2d Cir. 1989) ................................................................... 27

United States v. Cortez-Grandados, No. 11-CR-657 (SLT) (E.D.N.Y.) ...................................... 10

United States v. Cunningham, 103 F.3d 553 (7th Cir. 1996) ....................................................... 29

United States v. Daly, 842 F.2d 1380 (2d Cir. 1988) ................................................................... 36

United States v. Davis, 624 F.3d 508 (2d Cir. 2010) .................................................................... 23

United States v. Dhingra, 371 F.3d 557 (9th Cir. 2004) ............................................................... 28

United States v. DiMarzo, 80 F.3d 656 (1st Cir. 1996) ................................................................ 41

United States v. Doe, 655 F.2d 920 (9th Cir. 1981) ..................................................................... 11

United States v. Drewry, 365 F.3d 957 (10th Cir. 2004) ........................................................ 23, 25

United States v. Dunnican, 961 F.3d 859 (6th Cir. 2020) ............................................................ 39

United States v. Dupree, 706 F.3d 131 (2d Cir. 2013) ................................................................. 35


                                                            iv
United States v. Edwards, 631 F.2d 1049 (2d Cir. 1980) ............................................................. 40

United States v. Elbert, 561 F.3d 771 (8th Cir. 2009) ............................................................ 14, 17

United States v. Flores, 945 F.3d 687 ........................................................................................... 35

United States v. Foley, 740 F.3d 1079 (7th Cir. 2014) ................................................................. 20

United States v. Gabe, 237 F.3d 954 (8th Cir. 2001).................................................................... 23

United States v. Gagliardi, 506 F.3d 140 (2d Cir. 2007) .............................................................. 38

United States v. Garcia, 291 F.3d 127 (2d Cir. 2002) .................................................................. 26

United States v. Graham, No. 12-CR-311, 2013 WL 321568 (W.D.N.Y. Jan. 28, 2013)............ 14

United States v. Grecco, 728 F. App’x 32 (2d Cir. 2018) ............................................................ 35

United States v. Griffith, 284 F.3d 338 (2d Cir. 2002) ................................................................... 7

United States v. Guidry, 456 F.3d 493 (5th Cir. 2006)................................................................. 23

United States v. Hall, No. 98-6421, 2000 WL 32010 (6th Cir. Jan. 4, 2000)............................... 28

United States v. Harris, 501 F.2d 1 (9th Cir. 1974) ........................................................................ 9

United States v. Hunt, 534 F. Supp. 3d 233 (E.D.N.Y. 2021) ...................................................... 38

United States v. Kandic, No. 17-CR-499 (NGG) (E.D.N.Y.)....................................................... 32

United States v. Kapordelis, 569 F.3d 1291 (11th Cir. 2009) ...................................................... 28

United States v. Kelly, 510 F.3d 433 (4th Cir. 2007) ................................................................... 23

United States v. Kelly, No. 07-CR-374 (SJ), 2008 WL 5068820 (E.D.N.Y. Jul. 10, 2008) .... 7, 11

United States v. Langford, 990 F.2d 65 (2d Cir. 1993) ................................................................ 27

United States v. Levy, 594 F. Supp. 2d 427 (S.D.N.Y. 2009) ................................................ 21, 25

United States v. Levy, 731 F.2d 997 (2d Cir. 1984) ......................................................... 26, 27, 30

United States v. Lewis, 110 F.3d 417 (7th Cir. 1997) .................................................................. 41

United States v. Lewis, 318 Fed. App’x 1 (D.C. Cir. 2009) ......................................................... 23

United States v. Livoti, 196 F.3d 322 (2d Cir. 1999) ................................................................... 29

United States v. Lopez-Perez, No. 11-CR-199 (CBA) (E.D.N.Y.) .............................................. 10


                                                                 v
United States v. Mackey, No. 21-CR-80-NGG, 2023 WL 2457861, at *4 (E.D.N.Y.
  Mar. 10, 2023)..................................................................................................................... 35, 36

United States v. Marcus, No. 05-CR-457 (ARR), 2007 WL 330388 (E.D.N.Y.
  Jan. 31, 2007) .......................................................................................................................... 8, 9

United States v. Marti, 421 F.2d 1263 (2d Cir. 1970) .............................................................. 8, 12

United States v. Mickens, 926 F.2d 1323 (2d Cir. 1991) ....................................................... 27, 30

United States v. Naseer, No. 10 CR 19 (RJD), 2015 WL 13843166 (E.D.N.Y. Jan. 26,
  2015) ............................................................................................................................. 31, 32, 33

United States v. Navarro, 737 F.2d 625 (7th Cir. 1984) ................................................................. 9

United States v. Nelson, 365 F. Supp. 2d 381 (S.D.N.Y. 2005) ................................................... 37

United States v. O’Connor, 650 F.3d 839 (2d Cir. 2011) ............................................................. 30

United States v. One Feather, 702 F.2d 736 (8th Cir. 1983) ........................................................ 17

United States v. Ortiz, 857 F.2d 900 (2d Cir. 1988) ............................................................... 26, 27

United States v. Otufale, No. 24-CR-170 (KAM) (E.D.N.Y.) ..................................................... 38

United States v. Paulino, 445 F.3d 211 (2d Cir. 2006) ........................................................... 35, 37

United States v. Pepe, 747 F.2d 632 (11th Cir. 1984) .................................................................... 9

United States v. Pipola, 83 F.3d 556, 566 (2d Cir. 1996) ............................................................. 30

United States v. Pitre, 960 F.2d 1112 (2d Cir. 1992)........................................................ 26, 29, 30

United States v. Purcell, 967 F.3d 159 (2d Cir. 2020) .................................................................. 35

United States v. Qualls, 613 F. App’x 25 (2d Cir. 2015) ............................................................. 38

United States v. Quraishi, No. 15-CR-598 (CBA) (E.D.N.Y.) ..................................................... 10

United States v. Rivera, No. 09-CR-619 (JMA) (E.D.N.Y.) ........................................................ 10

United States v. Rivera, No. 13-CR-149 (KAM), 2015 U.S. Dist. LEXIS 54326 (E.D.N.Y. Apr.
  24, 2015) ................................................................................................................................... 14

United States v. Roldan-Zapata, 916 F.2d 795 (2d Cir. 1990) ..................................................... 29

United States v. Romone, 218 F.3d 1229 (10th Cir. 2000) .......................................................... 16




                                                                       vi
United States v. Ryan, No. 3:23-CR-00291-WHO-1, 2023 WL 7284157, at *1 (N.D. Cal.
  Nov. 3, 2023) ............................................................................................................................ 37

United States v. Schaffer, 851 F.3d 166 (2d Cir. 2017)................................................................ 25

United States v. Sebolt, 460 F.3d 910 (7th Cir. 2006) ................................................ 25, 28, 29, 30

United States v. Sibley, 681 F. Appx 457 (6th Cir. 2017) ............................................................ 16

United States v. Spoor, 904 F.3d 141 (2d Cir. 2018).................................................................... 24

United States v. Stroming, 838 F. App’x 624 (2d Cir. 2021) ....................................................... 19

United States v. Sturm, 673 F.3d 1274 (10th Cir. 2012) .............................................................. 20

United States v. Thomas, 116 F.3d 606 (2d Cir. 1997) ................................................................ 41

United States v. Thompson, 178 F. Supp. 3d 86 (W.D.N.Y. Apr. 5, 2016) ............................. 9, 11

United States v. Tin Yat Chin, 371 F.3d 31 (2d Cir. 2004) .......................................................... 38

United States v. Urena, 8 F. Supp. 3d 568 (S.D.N.Y. 2014) .................................................. 32, 33

United States v. Vickers, 708 F. App’x 732 (2d Cir. 2017) ......................................................... 23

United States v. Vonneida, 601 F. App’x 38 (2d Cir. 2015) ........................................................ 21

United States v. Watts, 934 F. Supp. 2d 451 (E.D.N.Y. 2013)..................................................... 40

United States v. Zackson, 12 F.3d 1178 (2d Cir.1993)................................................................. 27



Statutes

18 U.S.C. § 2251 .................................................................................................................... passim

18 U.S.C. § 2252 ........................................................................................................................... 24

18 U.S.C. § 2422 ................................................................................................................. 2, 14, 26

18 U.S.C. § 3500 ........................................................................................................................... 33

18 U.S.C. § 3509 ................................................................................................................... 6, 7, 11

18 U.S.C. § 3771 ................................................................................................................. 6, 12, 15




                                                                     vii
Rules

Fed. R. Evid. 401 ................................................................................................................... passim

Fed. R. Evid. 402 ................................................................................................................... passim

Fed. R. Evid. 403 ................................................................................................................... passim

Fed. R. Evid. 404 ................................................................................................................... passim

Fed. R. Evid. 412 ................................................................................................................... passim

Fed. R. Evid. 414 ................................................................................................................... passim

Fed. R. Evid. 801 ................................................................................................................... passim

Fed. R. Evid. 902 .......................................................................................................... 1, 37, 38, 39



Other Authorities

1 McCormick on Evid. § 193 (7th ed. 2013) ................................................................................ 18

137 Cong. Rec. S3212 (1991)……...…………………………………………………………….22

140 Cong. Rec. H8991-92 (1994)………………………………………………………..20, 21, 22

David J. Karp, Evidence of Propensity and Probability in Sex offense Cases and Other Cases,
  70 Chi-Kent. L. Rev. 15, 19 (1994) .................................................................................... 21, 22

IA Wigmore’s Evidence § 62.2, (Tillers rev. 1983)…………………..…………………………22

Sand, et al., Modern Federal Jury Instructions (“Sand”), Instruction 9-1 (2017 ed.) ................... 40

Thomas J. Reed, Reading Gaol Revisited: Admission of Uncharged Misconduct Evidence in
  Sex Offender Cases, 21 Am. J. Crim. L. 127, 188 (1993) ........................................................ 21




                                                                   viii
                                 PRELIMINARY STATEMENT

              The government respectfully submits this memorandum of law in support of its

       motions in limine to: 1

       1)     permit the victims identified in the superseding indictment, as well as the parents
              of certain victims, to testify using a pseudonym or their first name only and to
              preclude public disclosure of other information that could result in identification of
              the victims;

       2)     preclude pursuant to Federal Rule of Evidence 412 any evidence of any of the
              victims’ sexual acts, sexual communications, or sharing of sexual images with
              anyone other than the defendant;

       3)     admit pursuant to Federal Rule of Evidence 414, or in the alternative, pursuant to
              Federal Rule of Evidence 404(b), evidence of sexually explicit materials depicting
              minors other than victims identified in the superseding indictment recovered from
              the defendant’s cellular telephone and Snapchat account;

       4)     admit statements made by John Doe 4 to his mother reporting inappropriate
              communications from the defendant;

       5)     permit the undercover law enforcement officer who communicated with the
              defendant using John Doe 4’s social media account to testify under a pseudonym
              or UC identifier;

       6)     admit the forensic extraction of the defendant’s cellular telephone based on a
              authentication certification without a testifying witness pursuant to Federal Rules
              of Evidence 902(13) and (14); and

       7)     preclude any reference to punishment, including reference to mandatory minimum
              or maximum sentences.




       1
              As directed by the Court, the government provided an overview of its anticipated
motions to the defense on August 6, 2024. Defense counsel subsequently advised that the
defendant does not consent to any of the government’s motions.
                                                1
                                 RELEVANT BACKGROUND 2

               The defendant is a now-suspended Staten Island police officer who, at times, used

his role as a law enforcement officer to gain access to and abuse and exploit or attempt to exploit

minor children, including at least four victims. For his conduct, the defendant is charged in a six-

count superseding indictment with sexually exploiting, attempting to sexually exploit, and enticing

and coercing minor boys, in violation of Title 18, United States Code, Sections 2251(a), 2251(e),

and 2422(b). ECF No. 29.

               The charges are based on the defendant’s use of internet-based applications and

cellphones to contact four minor boys to engage them in sexual conversations online in an effort

to entice the minor victims to engage in sexually explicit conduct for the purpose of creating a

visual depiction of that conduct for the defendant. The defendant also engaged in hands-on sex

acts with two of his minor victims. The government’s review of the defendant’s device and social

media accounts shows that he also had contact similar in nature as to the charged victims with

other minors, including receiving and possessing sexually explicit images of apparent minor males.

The defendant’s interactions with each of the charged victims is briefly described below.

               John Doe 4

               John Doe 4, who resided in Staten Island, New York, was the victim of a robbery

in March 2023.     John Doe 4’s parents knew the defendant from their neighborhood and

encountered the defendant at the precinct where they went to report the robbery. New York City




       2
                The proffer of facts set forth herein does not purport to provide a complete
statement of all facts and evidence of which the government is aware or will seek to introduce at
trial. In addition, the proffer of facts set forth in this motion as to any witness’s anticipated
testimony is a collection of the sum and substance of the witness’s anticipated testimony and does
not purport to provide a complete statement of all facts and evidence of which the government is
aware or will seek to introduce through the respective witness’s anticipated testimony.
                                                 2
Police Department (“NYPD”) records indicate that the defendant accessed the robbery complaint,

which contained John Doe 4’s cellphone number, through the NYPD system. The same day the

defendant accessed the complaint, the defendant contacted John Doe 4, who was 15 years old at

the time, using the defendant’s personal cellphone. The defendant wrote, “Hey [John Doe 4], it’s

Chris Terranova the cop you met at the 121 that day with mom , i just wanted to reach out to see

if you were doing ok after the incident, I hate seeing these things happen to good Guys like

yourself.” In the following messages, the defendant inquired about the investigation, referred to

his role as a police officer, asked John Doe 4 if he had any interest in the police department or its

youth programs, and wrote things like, “If [sic] here too if you ever want to talk[.] I been through

a lot myself over the years so just know that little bro.” The defendant then asked John Doe 4 to

add him on “snap” or “the gram,” apparently referring to Snapchat and Instagram.

               On Snapchat, the defendant began asking John Doe 4 inappropriate questions,

including whether John Doe 4 masturbated, what type of pornography John Doe 4 liked to watch,

whether John Doe 4 measured his penis, and the color of John Doe 4’s pubic hair. The defendant

also advised John Doe 4 of the size of the defendant’s penis when “it’s hard.” Throughout this

conversation, the defendant reassured John Doe 4 that it was “super safe” to talk to him and that

they “have trust about EVERYTHING and ANYTHING.” The defendant further wrote, “I thought

we would show each others to bond (just the pubes) which we both don’t have lol Or an underwear

pic” and “Can I show you quick before bed ? Just one It will be fun and brotherly.” The defendant

then sent John Doe 4 a photograph of his pubic area and a portion of his penis, after which the

defendant wrote, “see it’s nothing. Your turn.” When John Doe 4 did not immediately respond,

the defendant wrote, “Then we’ll get some sleep[.] If not all good, just was curious and little thing




                                                 3
in life bond us bros[.] Are you okay? Say something please[.] I’m sorry[.] Can you please

respond? Or send something too lol.”

                John Doe 4 reported communications of this nature to his mother which caused her

to review the Snapchat communications herself at which time she viewed the explicit image the

defendant sent to John Doe 4. John Doe 4’s mother then sent a message to the defendant through

John Doe 4’s Snapchat account pretending to be John Doe 4 and telling the defendant that he was

making John Doe 4 uncomfortable. John Doe 4’s report to his mother further resulted in the

defendant’s conduct being reported to the police. A undercover (“UC”) law enforcement officer,

and other law enforcement officers, subsequently engaged in controlled messages with the

defendant on Snapchat under John Doe 4’s account. In those messages the defendant wrote to

John Doe 4’s account, among other things, “we have trust and I’m all yours bro” and “did you jerk

yours today?”

                John Doe 3

                Shortly before his attempts to sexually exploit John Doe 4, the defendant engaged

in similar conduct with the then-12-year-old John Doe 3. John Doe 3, who resided in Staten Island,

New York, met the defendant when the defendant was providing a law enforcement presence at

the football field where John Doe 3 played youth football. The defendant connected with John

Doe 3 using Snapchat and began asking John Doe 3 inappropriate questions, including asking how

John Doe 3’s “schmeat” was, apparently referring to John Doe 3’s genitals, if it was growing, and

if John Doe 3 was “playing with it.” The defendant also asked John Doe 3 multiple times for

photographs of John Doe 3’s pubic hair, penis, and buttocks.




                                                4
               John Doe 2

               In 2022, the defendant communicated with another minor male, John Doe 2, who

was then 15 years old. John Doe 2 also resided in Staten Island, New York. The defendant was a

friend of John Doe 2’s family member. As with John Does 3 and 4, the defendant connected with

John Doe 2 using social media; in this instance Snapchat and Instagram. The defendant used these

internet-based applications to ask John Doe 2 questions about his sexual behavior and his genitals.

These communications escalated to an incident in which the defendant, using an internet-based

phone application, offered to pick up John Doe 2 from a birthday party and drive him home. The

defendant then picked up John Doe 2 and drove him to an isolated area where the defendant began

to kiss John Doe 2. Ultimately, the encounter escalated to the defendant using his hands to force

John Doe 2 to perform oral sex on the defendant. Subsequent to this incident the defendant

continued to message John Doe 2 over Snapchat and, among other things, request explicit pictures

of John Doe 2. Specifically, the defendant asked for photographs of John Doe 2’s penis and

buttocks. Some of the messages the defendant sent to John Doe 2 on Snapchat include: “You can

still send me some surprises here and there that won’t hurt[.] I love your little cute cock” and “I

got hard as fuck thinking about you (take it as a compliment).”

               John Doe 1

               John Doe 1, who resided in Texas during the relevant time period, was another

victim of the defendant’s. The defendant met John Doe 1 through social media and communicated

with John Doe 1 via text message, Snapchat, and Facetime. Electronic communications between

the defendant and John Doe 1 date back to when John Doe 1 was 15 years old and reference sexual

acts between the two. John Doe 1 sent the defendant sexually explicit images over Snapchat and

engaged in live streamed sexual acts while on Facetime with the defendant. The defendant met



                                                5
John Doe 1 multiple times in person in Texas and engaged in sex acts with the minor child. The

defendant even purchased a second home in Texas that was a few minutes away from John Doe

1’s residence at the time. One of the reasons John Doe 1 trusted the defendant was because the

defendant told John Doe 1 he was a police officer.

                                           ARGUMENT

I.     The Court Should Issue an Order of Protection Pursuant to 18 U.S.C. §§ 3509(d)(3)(A) and
       3771 Protecting the Victims’ Names and Other Identifying Information From Public
       Disclosure

               In accordance with Title 18, United States Code, Sections 3509 and 3771, the

government respectfully requests an order of protection prohibiting disclosure of the victims’

identifying information. Such protections are routinely granted in cases involving minor victims

and victims of sexual violence.

       A.      Applicable Law

               Title 18, United States Code, Section 3509 (“Child Victims’ and Child Witnesses’

Rights”) provides:

               On motion by any person the court may issue an order protecting a
               child from public disclosure of the name of or any other information
               concerning the child in the course of the proceedings, if the court
               determines that there is a significant possibility that such disclosure
               would be detrimental to the child.

18 U.S.C. § 3509(d)(3)(A). Section 3509 defines a “child” as a person under the age of 18 who is

or is alleged to be a victim of a crime of physical abuse, sexual abuse, or exploitation. See 18

U.S.C. § 3509(a)(2)(A). In addition, Title 18, United States Code, Section 3771, governing crime

victims’ rights, affords a victim “[t]he right to be treated with fairness and with respect for the

victim’s dignity and privacy.” 18 U.S.C. § 3771(a)(8).

               While “the press and general public have a constitutional right of access to criminal

trials,” that right “is not absolute.” Globe Newspaper Co. v. Sup. Ct. for Norfolk Cnty., 457 U.S.

                                                 6
596, 604-06 (1982). The public’s interest in access to criminal trials is outweighed where there is

reason to believe that disclosure would be detrimental to a victim, including minor children.

Indeed, courts routinely preclude reference to the names of victims in sexual assault cases. See,

e.g., United States v. Griffith, 284 F.3d 338, 342 n.1 (2d Cir. 2002) (referring to minor victims

recruited into prostitution by only their first names in order to comply with 18 U.S.C. § 3509);

United States v. Kelly, No. 07-CR-374 (SJ), 2008 WL 5068820, at *2 (E.D.N.Y. Jul. 10, 2008)

(granting protective order with respect to victims’ names in sex trafficking case including those

who were no longer minors).

               Similarly, while the Confrontation Clause guarantees defendants in all federal and

state criminal prosecutions the right to confront government witnesses testifying against them,

California v. Green, 399 U.S. 149, 173-74 (1970), that right is also not absolute. A defendant’s

rights under the Confrontation Clause must yield to accommodate other legitimate interests in the

criminal trial process. Chambers v. Mississippi, 410 U.S. 284 (1970). For instance, the Supreme

Court has observed that there is “wide latitude insofar as the Confrontation Clause is concerned to

impose reasonable limits on such cross-examination based on concerns about, among other things,

harassment, prejudice, confusion of the issues, the witness’s safety, or interrogation that is

repetitive or only marginally relevant.” Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986). In

deciding whether to limit the scope of cross-examination, the court must balance the government’s

reasons for requesting such limitations against the defendant’s interest in the full cross-

examination of the witness. See Alford v. United States, 282 U.S. 687, 694 (1931); Smith v.

Illinois, 390 U.S. 129, 134 (1968) (“[I]f the question asked is one that is normally permissible, the

State or the witness should at the very least come forward with some showing of why the witness




                                                 7
must be excused from answering the question. The trial judge can then ascertain the interest of

the defendant in the answer and exercise an informed discretion in making his ruling.”).

               In the trial context, courts have found that the potential for reprisals, humiliation,

or annoyance are sufficient to justify nondisclosure of personal identifying information by a

witness. As Judge Ross has summarized:

               In advancing the contention that the defendant’s rights under the
               Confrontation Clause of the Sixth Amendment require full
               disclosure of the witnesses’s names, place of employment, and
               home addresses, the defendant relies on Smith v. Illinois, 390 U.S.
               129 (1968), and Alford v. United States, 282 U.S. 687 (1931).
               Taken together, these cases have been interpreted by the Second
               Circuit to safeguard two main interests of the defendant:
               (1) obtaining information needed for in-court and out-of-court
               investigation of the witness; and (2) enabling defense counsel to
               elicit information that might be relevant to the jury’s deliberations
               as to the credibility or knowledgeability of the witness. See United
               States v. Marti, 421 F.2d 1263, 1266 (2d Cir. 1970). In the event
               the government seeks to limit disclosure of identifying information
               in open court, the government must provide a reason for the
               limitation. Id. (citing Smith, 390 U.S. at 134 (White, J.,
               concurring)). “[T]he reason may be that the answer may subject the
               witness to reprisals or that the question is being used to humiliate or
               annoy the witness.” Id. (citing Alford, 282 U.S. at 694). The
               defendant is then required to demonstrate a “particularized need” for
               disclosure of the relevant information, which the court weighs
               against the risks to the witness. See United States v. Bennett, 409
               F.2d 888, 901 (2d Cir. 1969); see also United States v. Cavallaro,
               553 F.2d 300, 305 (2d Cir. 1977).

United States v. Marcus, No. 05-CR-457 (ARR), 2007 WL 330388, at *1 (E.D.N.Y. Jan. 31, 2007)

(internal citations omitted).

               In Marcus, the court concluded that there was no prejudice to the defendant where

he was precluded from inquiring about a witness’s address, holding that although the government

should come forward with a reason for withholding a witness’s address, “the reason may be that

the answer may subject the witness to reprisals or that the question is being used to humiliate or



                                                 8
annoy the witness.” See Marcus, 2007 WL 330388, at *1-2 (ruling that potential harassment,

potential loss of employment, and the explicit nature of anticipated testimony are legitimate

reasons to protect witnesses’ full identity and to exclude mention of witnesses’ home addresses,

and current places of employment); accord United States v. Pepe, 747 F.2d 632, 656 n.33 (11th

Cir. 1984) (finding no error in precluding cross-examination regarding witnesses’ home

addresses); United States v. Navarro, 737 F.2d 625, 633-34 (7th Cir. 1984) (cross-examination of

an informant about his home address and current place of employment precluded); United States

v. Harris, 501 F.2d 1, 9 (9th Cir. 1974) (“If the answer may subject the witness to harassment,

humiliation, or danger, then nondisclosure of the witness’ home address may be justifiable.”). As

the Marcus court concluded, the relevant precedent looks to whether the information is necessary

to the defendant in order to engage in an in- or out-of-court investigation of the witness or to

attempt discrediting the victim before the jury.

                Where the government seeks to limit disclosure of a witness’s identifying

information in court, the government must articulate a need for withholding the identifiers, such

as fear of reprisal, humiliation, or annoyance to the witness. Once the government identifies a

need to protect the witness’ full identity, the defendant must demonstrate a “particularized need”

for the information, which the Court weighs against the harm to the witness. Marcus, 2007 WL

330388, at *1. In Marcus, Judge Ross expressly found, in a case involving sex trafficking

allegations, that “[i]n light of the explicit nature of the conduct that the witnesses will be testifying

about . . . the court has determined that the witnesses’s fear of harassment and reprisals is

legitimate.” 2007 WL 330388, at *1. In many other cases involving the testimony of victims of

sexual abuse, and particularly where the victim was a child, the court has permitted witnesses to

testify without disclosing their full names. See, e.g., United States v. Thompson, 178 F. Supp. 3d



                                                   9
86, 96 (W.D.N.Y. Apr. 5, 2016) (finding a compelling interest in limiting the identification of

minor victims given the potential for explicit evidence in the underlying case to have adverse

personal, professional, and psychological consequences); Order dated April 26, 2011 at 2, United

States v. Rivera, 09-CR-619 (JMA) (E.D.N.Y.) (Docket No. 231) (permitting victims testifying in

graphic detail about acts of forced prostitution and sexual contact with customers and others to

testify using their first names only); Transcript of April 5, 2016 Pre-Trial Conference at 6-10,

United States v. Quraishi, 15-CR-598 (CBA) (E.D.N.Y.) (Docket No. 46) (where the defendant

was charged with abusive sexual contact and assault on an airplane, Judge Amon permitted the

victim-witness to testify using her first name only); United States v. Cortez-Granados, 11-CR-657

(SLT) (E.D.N.Y.) (at sentencings of sex traffickers, victims permitted to give in-court victim

impact statements using only their first name or the name Jane Doe); United States v. Lopez-Perez,

et al., 11-CR-199 (CBA) (E.D.N.Y.) (same).

       B.      Discussion

               In light of the sensitive nature of the crimes involved in this case, namely the sexual

abuse and exploitation of minors at the hands of the defendant, an order restricting throughout the

proceedings the use of the true names of the John Does—all of whom are victims of the defendant’s

crimes—to only their first names or a pseudonym, as well as restricting disclosure of other

identifying information, such as the names of their family members, their addresses, phone

numbers or screennames, and their exact place of school or employment (if any), is in accordance

with the Crime Victims’ Rights Act. The government anticipates the parents of certain of the John

Does will also testify at trial. The government respectfully requests that the sought after protective

order include permission for the parents to testify using only their first names or a pseudonym as

well and prohibit the disclosure of the parents’ identifying information, including their addresses,

phone numbers, and place of employment in order to protect the identities of the victims.

                                                 10
Additionally, to the extent documents are introduced into evidence that reflect the aforementioned

information, those documents should be sealed or redacted from the public. These measures are

necessary to protect the victims from potential harassment, undue embarrassment, and other

adverse consequences. The limited protections requested by the government are reasonable,

necessary, and appropriate to protect the victims’ safety and well-being, avoid harassment of the

John Does, and prevent undue embarrassment and other adverse consequences.

               The defendant here is charged with attempting to entice children to create and

transmit sexually explicit images of themselves and to send those images to him via the internet.

All four victims were minors at the time of the defendant’s abuse and all but John Doe 1 will be

minors at the time of trial. The John Does are expected to testify about being asked to or actually

producing sexually explicit images of themselves and, in the case of John Does 1 and 2, engaging

in sexual acts with the defendant when they were minors. Revealing the John Does’ identities

would cause needless anxiety and subject them to negative social stigma. There is a significant

possibility that publicly disclosing the victims’ names or identifying information would expose

them to the kind of harm that Section 3509 seeks to avoid. See United States v. Doe, 655 F.2d

920, 922 n.1 (9th Cir. 1981) (use of pseudonyms justified when necessary to protect individuals

from “harassment, injury, ridicule or personal embarrassment”); Thompson, 178 F. Supp. 3d at 96

(finding a compelling interest in limiting the identification of minor victims given the potential for

explicit evidence in the underlying case to have adverse personal, professional, and psychological

consequences); Kelly, 2008 WL 5068820, at *2 (E.D.N.Y. Jul. 10, 2008) (granting protective order

with respect to victims’ names in sex trafficking case due to the potentially explicit nature of the

expected testimony).




                                                 11
               To require the John Does to provide full identifying information in open court also

does not serve any of the legitimate purposes identified by the courts, such as the defendant’s

obtaining information for in- or out-of-court investigation or attempting to discredit the victims

before the jury. Rather, requiring the John Does to provide their identifying information in open

court would serve only to harass, to embarrass, and “to humiliate or annoy the [victims],” and

could potentially subject them to reprisal. Marti, 421 F.2d at 1266. These purposes are directly at

odds with the rights that victims are afforded under the Crime Victims’ Rights Act, which include

the right to be heard, but also to be treated with respect for their dignity and privacy. See 18 U.S.C.

§ 3771(a)(8). Indeed, requiring victims of sexual abuse to provide their names in public could

chill their willingness to testify, for fear of having their personal histories publicized, and the

embarrassment and humiliation that such publicity could cause them as they rebuild their lives. In

addition, a ruling requiring the John Does to disclose their full identities publicly could cause other

victims to fear seeking help from law enforcement as that could subject them to further harassment

and embarrassment.

               Finally, the government expects that the defendant will be unable to articulate any

“particularized need” for the disclosure of the John Does’ identity information in open court. The

defendant in this case knows who the John Does are. Accordingly, the defendant will not be

prevented from presenting a defense in the event that the victims are referred to by only their first

names or pseudonyms during the trial and to the extent any identifying information is either

precluded or, to the extent relevant, admitted only under seal. The same is true with respect to

sealing admitted materials containing the John Does’ identifying information. See Bennett, 409

F.2d at 901 (district court did not err in allowing government witness not to identify place of

employment where defense failed to demonstrate a “particularized need” for the information).



                                                  12
                For the reasons set forth above, the potential harm to the victims—who were all

minors at the time of the relevant events—counsels strongly in favor of avoiding the needless

disclosure of their identities in connection with the defendant’s prosecution. Accordingly, the

government respectfully requests an order of protection, requiring that, throughout the course of

motion practice, the victims identified in the Superseding Indictment be referred to only as John

Doe 1, John Doe 2, John Doe 3, and John Doe 4, as they are in the Superseding Indictment, and

during trial and any ancillary proceedings, the victims only be referred to by their first names or a

pseudonym.

                The government further requests that testifying victims not be required to disclose

uniquely identifying information, such as their addresses, phone numbers, names of family

members, the names of the schools they attend(ed), or places of employment. The government

also respectfully requests that, to the extent family members, such as parents, of the victims testify,

they also be permitted to testify using only their first name or a pseudonym, and that the Court

prohibit the disclosure of the parents’ identifying information, including their addresses, phone

numbers, and place of employment in order to protect the identities of the victims.

                Additionally, the government requests that, during trial, all parties be precluded

from publishing documents to the gallery that reflect the victims’ names or the identifying

information discussed herein and that any such materials admitted into evidence be sealed or

redacted in accordance with the protective order.

                For the foregoing reasons, the requested measures are necessary to protect child

exploitation victims from undue embarrassment, potential harassment, and other adverse

consequences.




                                                  13
II.    Evidence and Argument Regarding Any Sexual Behavior of John Does 1-4 with Anyone
       Other Than the Defendant is Inadmissible Under Federal Rule of Evidence 412

               The government respectfully requests an order precluding the defendant from

(i) introducing evidence regarding John Does 1-4 engaging in sexual acts or contact with anyone

other than the defendant, or having any type of “sexual predisposition” or (ii) otherwise

referencing such inadmissible evidence during voir dire, opening statements, cross-examination,

and closing arguments. Such protections are required under Federal Rule of Evidence 412.

       A.      Applicable Law

               Federal Rule of Evidence 412 expressly provides that, in a criminal proceeding

involving sexual misconduct, “evidence offered to prove that a victim engaged in other sexual

behavior” or “evidence offered to prove a victim’s sexual predisposition” is not admissible, except

in three narrow circumstances. Fed. R. Evid. 412(a), (b). Rule 412 “aims to safeguard the alleged

victim against the invasion of privacy, potential embarrassment and sexual stereotyping that is

associated with public disclosure of intimate sexual details” and to “encourage[ ] victims of sexual

misconduct to institute and to participate in legal proceedings against alleged offenders.” Fed. R.

Evid. 412 advisory committee note. The provisions of Rule 412 apply in a “civil or criminal

proceeding involving alleged sexual misconduct.” Fed. R. Evid. 412(a). See, e.g., United States

v. Alvarez, 601 F. App’x 16, at *5 (2d Cir. 2015) (summary order) (applying Rule 412 to exclude

evidence of other sexual behavior by an alleged victim of violations of Title 18, United States

Code, Section 2422); United States v. Elbert, 561 F.3d 771, 776 (8th Cir. 2009) (applying Rule

412 to a violation of Title 18, United States Code, Section 1591 involving minor victims); United

States v. Rivera, No. 13-CR-149 (KAM), 2015 U.S. Dist. LEXIS 54326, at *13 (E.D.N.Y. Apr.

24, 2015) (applying Rule 412 to exclude evidence of other sexual behavior by alleged victims of

violations of Title 18, United States Code, Sections 1591 and 2422); United States v. Graham, No.


                                                14
12-CR-311, 2013 WL 321568, at *1 (W.D.N.Y. Jan. 28, 2013) (applying Rule 412 to preclude

evidence of sex trafficking victims’ prostitution both prior to and following the defendant’s

conduct).

               Rule 412 imposes clear limits on a defendant’s ability to introduce evidence that a

victim engaged in other sexual behavior or has a propensity to engage in sexual acts. As Judge

Posner has explained, the policy rationale behind the rule encourages victims of sex offenses to

come forward: “If admissible, such evidence would deter many victims of sexual abuse from

testifying . . . .” United States v. Cephus, 684 F.3d 703, 708 (7th Cir. 2012) (Posner, J.) (finding

that evidence of victim’s prior prostitution was irrelevant to charge of sex trafficking); see Fed. R.

Evid. 412 advisory committee note (“Rule 412 has been revised . . . to expand the protection

afforded alleged victims of sexual misconduct.”); see also 18 U.S.C. § 3771(a)(8) (“A crime victim

has . . . [t]he right to be treated with fairness and with respect for the victim’s dignity and

privacy.”).

       B.      Discussion

               In this case, the government is not aware of any other sexual behavior or

predisposition of victims that would be relevant to the charged crimes, which involved the

defendant attempting to persuade, induce, entice, and coerce children to produce sexually explicit

images and enticing and coercing children to engage in sexual acts, much less any other sexual

behavior or predisposition that would overcome the preclusive effect of Federal Rule of Evidence

412.

                  i.   The Narrow Exceptions to Rule 412’s General Policy of Exclusion Do Not
                       Apply

               As noted above, Rule 412 is subject to three narrow exceptions in criminal cases.

These exceptions are: (1) to prove a person other than the defendant was the source of semen,


                                                 15
injury, or other physical evidence; (2) to prove the victim’s sexual behavior with respect to the

defendant, if offered by the prosecutor, or if offered by the defendant to prove consent; or (3) to

avoid a violation of the defendant’s constitutional rights. Fed. R. Evid. 412(b)(1). If a defendant

intends to introduce evidence of a victim’s other sexual behavior or alleged sexual predisposition

under one of these exceptions, the rule requires the filing of a sealed motion no less than fourteen

days before trial that “specifically describes the evidence and states the purpose for which it is to

be offered,” with notice to the victim or his representative. Fed. R. Evid. 412(c)(1). Failure to do

so without good cause should result in automatic exclusion. United States v. Romone, 218 F.3d

1229, 1235-36 (10th Cir. 2000).

               In this case, even if the defendant files a timely motion under Rule 412(c), the

evidence remains inadmissible. The first exception does not apply on the facts of this case, as the

government is not aware of any evidence that involves “semen, injury, or other physical evidence,”

which could be alternatively explained by evidence of a different perpetrator. Similarly, the second

exception does not apply to the facts of this case, as John Does 1-4 were at the time of the conduct

(and, in several instances, are currently) minors and incapable of consent. Accordingly, consent

is simply irrelevant to the charged crimes. United States v. Sibley, 681 F. Appx 457, 461 (6th Cir.

2017) (finding that a minor victims “consent is irrelevant to the question whether [the defendant]

used her for the purposes of 18 U.S.C. § 2251(a)”). The third exception also does not apply for

the reasons discussed below.

                 ii.   The Exclusion of Other Sexual History Evidence Does Not Violate the
                       Defendant’s Constitutional Right to Present a Defense

               Although the defendant has the constitutional right to present a defense, “[t]he

accused does not have an unfettered right to offer testimony that is incompetent, privileged, or

otherwise inadmissible under standard rules of evidence.” Taylor v. Illinois, 484 U.S. 400, 410


                                                 16
(1988); United States v. Bifield, 702 F.2d 342, 350 (2d Cir. 1983) (“A criminal defendant’s right

to present a full defense and to receive a fair trial does not entitle him to place before the jury

evidence normally inadmissible.”); Elbert, 561 F.3d at 777 (“The Confrontation Clause only

requires admission of probative evidence.”); Doe v. United States, 666 F.2d 43, 47 (4th Cir. 1981)

(“[A]n accused is not constitutionally entitled to present irrelevant evidence.”); see also Fed. R.

Evid. 402 (“Irrelevant evidence is not admissible.”).

               Here, any evidence of the victims’ sexual behavior with anyone other than the

defendant and any purported “sexual predisposition” evidence would be wholly irrelevant to the

charges against the defendant. 3 The exclusion of evidence on these topics is thus appropriate under

Rule 412.

                iii.   Any Other Sexual History Evidence Should be Excluded Under Federal
                       Rule of Evidence 403

               Even assuming arguendo that evidence of the victims’ unrelated sexual activity or

predisposition is relevant, any probative value would be marginal at best and substantially

outweighed by the dangers of unfair prejudice, confusion of the issues, misleading the jury, and

embarrassing the victims, several of whom are still minors, and it should thus be excluded pursuant

to Rule 403. See Fed. R. Evid. 403; United States v. One Feather, 702 F.2d 736, 739 (8th Cir.

1983) (“The policy of Rule 412, to guard against unwarranted intrusion into the victim’s private

life, may be taken into account in determining the amount of unfair prejudice under Rule 403.”).




       3
               In addition, prohibiting the defendant from cross-examining the victims about their
other sexual behavior or any alleged predisposition will not violate the Confrontation Clause.
“[T]he Confrontation Clause guarantees an opportunity for effective cross-examination, not cross-
examination that is effective in whatever way, and to whatever extent, the defense might wish.”
Van Arsdall, 475 U.S. at 679 (internal quotation marks omitted) (emphasis in original). Any
questions posed to the victims or to third-party witnesses regarding the victims’ sexual behavior
or any alleged predisposition could result in undue prejudice under Rule 403.
                                                17
               The key issue in this case is whether the defendant attempted to and did entice the

victims to produce sexually explicit images and whether he coerced and enticed two of the victims

to engage in sex acts. The question is not whether the victims engaged in any other sexual activity,

or had any particular “sexual predisposition.” Any evidence or argument regarding the victims’

sexual behavior with others and any alleged sexual predisposition would “imprudently focus[ ]

attention on the minimally probative and collateral issue of [the victim’s] character,” and “distract

the trier of fact from the main question of what actually happened on the particular occasion.”

Jones v. Goodwin, 982 F.2d 464, 470 n.8 (11th Cir. 1993) (quoting Fed. R. Evid. 404(a) advisory

committee note). It could also improperly suggest that the victims are of an immoral character and

are undeserving of the law’s protection. See generally 1 McCormick on Evid. § 193 (7th ed. 2013)

(“Learning of the victim’s bad character could lead the jury to think that the victim merely ‘got

what [she] deserved’ and to acquit for that reason.”). Thus, even if evidence of a victim’s unrelated

sexual activity is somehow marginally relevant, its exclusion is still warranted under Rule 403.

               For all of these reasons, the Court should preclude the defendant from

(i) introducing evidence regarding John Does 1-4 engaging in sexual acts or contact with anyone

other than the defendant, or having any type of “sexual predisposition” or (ii) otherwise

referencing such inadmissible evidence during voir dire, opening statements, cross-examination,

and closing arguments. In addition, to the extent that the defendant intends to introduce such

evidence, he should be required to file a motion with the Court in accordance with Rule 412(c) no

less than two weeks prior to trial, with notice to the relevant John Does.

III.   Evidence Regarding the Defendant’s Possession of Child Sexual Exploitation Material
       Involving Minors Other than John Does 1-4 is Admissible

               The government respectfully submits that evidence of the defendant’s possession

of child sexual exploitation material involving minors other than John Does 1-4 should be admitted


                                                 18
at trial: (i) pursuant to Federal Rule of Evidence 414(a), as evidence of prior child molestation;

and (ii) in the alternative, pursuant to Federal Rule of Evidence 404(b), as evidence of intent,

motive, knowledge, identity, absence of mistake, and a common scheme or plan. Specifically, at

trial, the government will prove that sexually explicit images of apparent minor males were

recovered from the defendant’s cellular telephone and Snapchat account.

       A.      Evidence Regarding the Defendant’s Possession of Child Sexual Exploitation
               Material Involving Minors Other than John Does 1-4 is Admissible Pursuant to
               Federal Rule of Evidence 414

               Evidence of the defendant’s possession of child sexual exploitation material

involving minors other than John Does 1-4 is presumptively admissible under Federal Rule of

Evidence 414. It is also highly probative in countering the defendant’s expected defense that he

lacked the requisite knowledge, motive, or intent to commit the charged crimes because, for

example, he did not believe that his victims were minors, as well as the expected defense that he

was not involved in sexually exploiting or attempting to sexually exploit John Does 1-4. Such

evidence should therefore be admissible at trial.

                 i.    Background of Federal Rule of Evidence 414

               Federal Rule of Evidence 414 (“Similar Crimes in Child Molestation Cases”)

provides, in pertinent part: “[i]n a criminal case in which a defendant is accused of child

molestation, the court may admit evidence that the defendant committed any other child

molestation. The evidence may be considered on any matter to which it is relevant.” Fed. R. Evid.

414; see also United States v. Stroming, 838 F. App’x 624, 625-26 (2d Cir. 2021) (summary order).




                                                19
               The rule defines “child molestation,” as, among other things, a crime involving

“any conduct prohibited by 18 U.S.C. chapter 110,” which includes Title 18’s child pornography

statutes. 4 Fed. R. Evid. 414(d)(2)(B).

               Congress enacted Federal Rule of Evidence 414 (and analogous Rules 413 and 415)

as part of the Violent Crime Control and Law Enforcement Act of 1994. These Rules are designed

to “supersede in sex offense cases the restrictive aspects of Federal Rule of Evidence 404(b).” 140

Cong. Rec. H8992 (1994) (Statements of Rep. Molinari and Senator Dole). They are designed to

create a presumption that “evidence admissible pursuant to the proposed rules is typically relevant

and probative, and that its probative value is normally not outweighed by any risk of prejudice or

other adverse effects.” 140 Cong. Rec. H8991-92 (1994) (remarks of principal House sponsor,



       4
                Rule 414 defines “child molestation” and a “child” in separate subsections. It
defines a “child” as a person under the age of 14, but places no specific age requirement in defining
“child molestation” as including a crime involving conduct prohibited by 18 U.S.C. chapter 110
(which includes Title 18’s child pornography statutes). The Second Circuit has not ruled on
whether that definition of a “child” applies to cases, such as this one, involving Title 18, chapter
110. See United States v. Archambault, 740 F. App’x 195, 200 (2d Cir. 2018). It has, however,
noted that other circuits to consider the issue have squarely rejected the argument that Rule 414
does not apply to cases involving violations of 18 U.S.C. chapter 110, and victims between the
ages of 14 and 17. Id. at 201. The decisions in these other circuits comport with the most natural
reading of the rule. As noted, the rule defines “child molestation” separately from its definition of
a “child.” See Fed. R. Evid. 414(d)(1), (d)(2). The definition of “child molestation” includes
several subsections explicitly requiring the victim of the conduct to be a “child” as defined by the
rule. See id. 414(d)(2)(A), (C)-(E). However, the relevant subsection here, 414(d)(2)(B), does not
include such a limitation, and instead relates to “any conduct prohibited by 18 U.S.C. chapter 110.”
(emphasis added). See United States v. Foley, 740 F.3d 1079, 1088-89, n.3 (7th Cir. 2014)
(“Although Rule 414(d)(1) defines a ‘child’ as a person below the age of 14, it defines ‘child
molestation’ to include ‘any conduct prohibited by 18 U.S.C. chapter 110’ without regard to
whether the chapter 110 offense was committed with a person below the age of 14, a ‘child’ as
defined by the Rule.”); United States v. Sturm, 673 F.3d 1274, 1284 (10th Cir. 2012) (finding the
assertion that Rule 414 applies only to offenses involving victims under the age of 14 an argument
“based on a gross misunderstanding of Rule 414(d)(2)”; noting that the Rule “defines ‘offense of
child molestation’—independent of the defined term ‘child’”; and concluding that the relevant age
of the victim “is determined by reference to chapter 110 of title 18, which defines ‘minor’ as any
person under the age of eighteen”).

                                                 20
Rep. Molinari); see also Cong. Rec. S12990; David J. Karp, Evidence of Propensity and

Probability in Sex offense Cases and Other Cases, 70 Chi-Kent. L. Rev. 15, 19 (1994); 5 United

States v. Vonneida, 601 F. App’x 38, 41-42 (2d Cir. 2015) (summary order) (stating that the

legislative sponsors of Rule 414 contemplated that, while conduct falling within the ambit of the

rule may be highly prejudicial, it is not necessarily unfairly prejudicial); United States v. Levy,

594 F. Supp. 2d 427, 439 (S.D.N.Y. 2009) (“Levy II”) (“[I]n sexual assault and child molestation

cases, the presumption is that the probative value of the propensity evidence is not outweighed by

the risk of unfair prejudice.”).

                 The legislative sponsors of Rules 413-415 further noted that:
                 The reform effected by these rules is critical to the protection of
                 the public . . . [a]nd is justified by the distinctive characteristics
                 of the cases to which it applies. In child molestation cases, for
                 example, a history of similar acts tends to be exceptionally
                 probative because it shows an unusual disposition of the
                 defendant -- a sexual or sado-sexual interest in children -- that
                 simply does not exist in ordinary people.

140 Cong. Rec. H8991-92 (1994) (remarks of principal House sponsor, Rep. Molinari).

                In adopting these rules, Congress built upon a large body of precedent favoring a

permissive approach to similar crimes evidence in sex offense cases. Many jurisdictions have

recognized the need for special evidence rules to ensure fully informed decisions by juries in cases

involving sexually violent crimes or the sexual abuse of children. Such jurisdictions historically

allowed such evidence through the adoption of special “lustful disposition” rules. See Thomas J.



        5
               The principal sponsors of Rules 413-415 noted that an address delivered to the
Evidence Section of the Association of American Law Schools by David J. Karp -- then Senior
Counsel at the Office of Policy Development at the Department of Justice and the drafter of Rules
413-415 -- was to serve as an “authoritative” part of the Rules’ legislative history. See 140 Cong.
Rec. 23,602 (1994); Johnson v. Elk Lake School Dist., 283 F.3d 138, 153-56 (3d Cir. 2002).




                                                   21
Reed, Reading Gaol Revisited: Admission of Uncharged Misconduct Evidence in Sex Offender

Cases, 21 Am. J. Crim. L. 127, 188 (1993) (characterizing 29 states as allowing propensity

evidence in some category or categories of sex offense cases). Other jurisdictions achieved similar

results by interpreting standard exception categories like those found in Rule 404(b) with particular

liberality in sex offense cases. See, e.g., IA Wigmore’s Evidence § 62.2, at 1334-35 (Tillers rev.

1983) (rule against propensity evidence often not honored in sex offense cases). Furthermore,

Congress recognized and intended that this approach would make the admission of similar crimes

evidence in federal sex offense cases the norm, and its exclusion the exception. The legislative

sponsors noted:

                  The practical effect of the new rules is to put evidence of
                  uncharged offenses in sexual assault and child molestation cases
                  on the same footing as other types of relevant evidence that are
                  not subject to a special exclusionary rule. The presumption is in
                  favor of admission. The underlying legislative judgment is that
                  the evidence admissible pursuant to the proposed rules is
                  typically relevant and probative, and that its probative value is
                  normally not outweighed by any risk of prejudice or other adverse
                  effects.

                  In line with this judgment, the rules do not impose arbitrary or
                  artificial restrictions on the admissibility of evidence. Evidence
                  of offenses for which the defendant has not previously been
                  prosecuted or convicted will be admissible, as well as evidence
                  of prior convictions. No time limit is imposed on the uncharged
                  offenses . . . as a practical matter, evidence of other sex offenses
                  by the defendant is often probative and properly admitted,
                  notwithstanding substantial lapses of time in relation to the
                  charged offense or offenses.

140 Cong. Rec. H8992 (1994) (Statements of Rep. Molinari and Senator Dole) (emphasis added);

see also 137 Cong. Rec. S3212, S338-3242 (1991); Karp, 70 Chi.-Kent L. Rev. at 19.

               The Second Circuit has considered the applicability of Rules 413-415, confirmed

the rules’ broad principles of admissibility, and affirmed the admission of evidence of prior sex



                                                  22
offenses and child molestation offenses pursuant to these rules. See, e.g., United States v. Vickers,

708 F. App’x 732, 736 (2d Cir. 2017) (summary order) (finding testimony concerning the

defendant’s sexual abuse of uncharged victims “plainly admissible under Rule 413 and 414

because it was probative of [the defendant’s] propensity for sexually abusing adolescent boys who

were entrusted to his care”); United States v. Davis, 624 F.3d 508, 512 (2d Cir. 2010) (evidence

of 19-year-old conviction for sodomy by forcible compulsion properly admitted in prosecution for

sexual exploitation of a minor to prove defendant’s propensity); see also United States v. Lewis,

318 Fed. App’x 1, 2 (D.C. Cir. 2009) (evidence that the defendant possessed child pornography

was admissible in a prosecution for attempted coercion and enticement of a minor); United States

v. Kelly, 510 F.3d 433, 437 (4th Cir. 2007) (admission of prior conviction for attempted rape of

12-year-old warranted in prosecution for traveling in interstate commerce for purpose of engaging

in illicit sexual conduct even though prior offense occurred 22 years earlier); United States v.

Guidry, 456 F.3d 493, 502-05 (5th Cir. 2006) (admission of uncharged sexual assaults including

forced oral copulation of woman admissible in trial of police officer charged with multiple sexual

assaults against women); United States v. Drewry, 365 F.3d 957, 960 (10th Cir. 2004) (testimony

from victim regarding acts of child molestation that occurred 25 years earlier admissible where the

defendant was charged with several counts of aggravated sexual abuse against minor), vacated on

other grounds, 543 U.S. 1103 (2005); United States v. Gabe, 237 F.3d 954, 959-60 (8th Cir. 2001)

(finding admissible witness testimony that the defendant had sexually abused the victim 20 years

prior).

                 ii.   Discussion

               The proffered evidence that the defendant previously possessed child sexual

exploitation material meets all of the requirements of Rule 414: (1) the defendant is charged with



                                                 23
child molestation offenses; (2) the evidence the government seeks to introduce is evidence of other

offenses of child molestation, as defined by the Rule; (3) the evidence is relevant; and (4) the

probative value of the evidence is not substantially outweighed by the danger of unfair prejudice.

               First, the defendant is charged with child molestation offenses. As set forth above,

the defendant is charged with: sexually exploiting and attempting to sexually exploit children, in

violation of Title 18, United States Code, Sections 2251(a) and (e). These charges involve conduct

proscribed by Chapter 110 of Title 18. Hence, the defendant is charged with offenses of “child

molestation” within the meaning of Rule 414. See Fed. R. Evid. 414(d)(2).

               Second, the proffered evidence of the defendant’s other acts also consists of

evidence of child molestation offenses. As set forth above, sexually explicit images of apparent

minor males were recovered from the defendant’s cellular telephone and Snapchat account. 6 The

defendant’s possession of these images constitutes evidence of violations of Chapter 110 of Title

18, see 18 U.S.C. § 2252, and thus constitute “child molestation” within the meaning of Rule 414.

               Third, the proffered evidence is relevant. Evidence that the defendant has sought

or possessed child pornography demonstrates the defendant’s sexual interest in minors, his

propensity or disposition of character to engage in sexual acts involving minors, and his intent in

producing and possessing child pornography. It is particularly relevant because the other acts

involve victims who are of the same demographic as John Does 1-4 – teenage boys. These

similarities render the proffered evidence of the defendant’s other acts especially probative. See

United States v. Spoor, 904 F.3d 141, 155 (2d Cir. 2018) (“[E]vidence that [the defendant] had,

relatively recently, abused boys who were similar in age to the boys in the [charged] videos was



       6
                The government respectfully proposes that, at trial, it will: (i) warn the jury before
it shows a child exploitative image; (ii) show child exploitative images for a brief period of time;
and (iii) not show any of the images to the courtroom gallery.
                                                 24
relevant to show his attraction to children, thus providing evidence of his motive to make

pornography.”); United States v. Schaffer, 851 F.3d 166, 182 (2d Cir. 2017) (upholding district

court’s finding that videos of the defendant molesting two other minors were admissible pursuant

to Federal Rule of Evidence 413, where the defendant was charged with enticing a minor to engage

in illegal sexual activity, because “acts demonstrating his sexual interest in minor females are

extremely relevant to the question of his intent”); United States v. Axsom, 761 F.3d 895, 898 (8th

Cir. 2014) (other acts considered probative when similar to charged acts); Drewry, 365 F.3d at 960

(finding evidence of child molestation committed 25 years earlier admissible pursuant to Rule 414

despite age of the uncharged conduct due to factual similarities between the charged and uncharged

conduct).

               Fourth, the probative value of the defendant’s other acts is not substantially

outweighed by the danger of unfair prejudice. In the context of Rules 413-415, “the Second Circuit

has instructed district courts to apply [Rule] 403 less stringently to avoid having Rule 403 preclude

evidence Congress intended to make admissible.” United States v. Barnason, 852 F. Supp. 2d 367,

371 (S.D.N.Y. 2012); see also Levy II, 594 F. Supp. 2d at 440 (evidence may be “highly

prejudicial” but not “unfairly prejudicial” where “this was the conduct that [the defendant] chose

to engage in, and this was evidence that showed, convincingly, that [the defendant] had a sexual

interest in children and the intent and desire to commit the charged crimes”); United States v.

Sebolt, 460 F.3d 910, 917 (7th Cir. 2006) (evidence that defendant had history of child molestation,

while “highly prejudicial,” was not “unfairly prejudicial”).        Notably, here the other acts

(possession or transportation of child sex abuse material) is less inflammatory than the charged

crimes (sexual exploitation, attempted sexual exploitation, and sexual abuse of minors).




                                                 25
       B.      Evidence of the Defendant’s Possession of Child Sexual Exploitation Material
               Involving Minors Other than John Does 1-4 is Admissible Pursuant to Federal Rule
               of Evidence 404(b)

               Evidence of the defendant’s other acts of possession or transmission of child sex

abuse material is also admissible under Federal Rule of Evidence 404(b) to show the defendant’s

intent, motive, knowledge, identity, and absence of mistake, as well as a common scheme or plan.

Specifically, the evidence the government intends to introduce is admissible because it is evidence:

(i) of the defendant’s belief that John Does 1-4 were minors, which is an element of the charges

for attempted sexual exploitation, 7 and of absence of any mistake with respect to their ages; (ii) of

the defendant’s intent and motive to create child pornography; and (iii) that establishes the identity

of the defendant as the person abusing his victims. The defendant’s knowledge, motive, intent,

and absence of mistake, as well as his participation in the charged conduct, are issues the

government expects the defendant to dispute at trial.

                  i.   Background of Federal Rule of Evidence 404(b)

               Evidence of uncharged crimes or “other acts” may be admitted pursuant to Rule

404(b) for permissible purposes, including to prove motive, opportunity, intent, preparation, plan,

knowledge, identity, or absence of mistake or accident. Fed. R. Evid. 404(b)(2); see United States

v. Ortiz, 857 F.2d 900, 903 (2d Cir. 1988). The Second Circuit has emphasized that Rule 404(b)

is a rule of broad reach and liberal application, and applies an “inclusionary or positive approach”

to admitting “other acts” evidence. See United States v. Garcia, 291 F.3d 127, 136 (2d Cir. 2002)

(citing United States v. Pitre, 960 F.2d 1112, 1118 (2d Cir. 1992)); see also United States v. Levy,




       7
               The government does not need to prove the defendant’s knowledge of his victims’
ages with respect to the completed offense conduct under 18 U.S.C. § 2251(a) and 2422(b).
However, for the attempt charges under 18 U.S.C. § 2251(a), (e), the government must prove that
the defendant believed his victims to be minors.
                                                 26
731 F.2d 997, 1002 (2d Cir. 1984) (“Levy I”) (“We have adopted the inclusionary or positive

approach to [404(b)]; as long as the evidence is not offered to prove propensity, it is admissible.”).

               A party must satisfy three requirements in order for evidence of “other crimes,

wrongs or acts” to be admitted under the rule. First, the evidence must be offered for a purpose

other than to prove a defendant’s bad character or criminal propensity. See United States v.

Mickens, 926 F.2d 1323, 1328 (2d Cir. 1991); United States v. Colon, 880 F.2d 650, 656 (2d Cir.

1989). Second, the evidence must be relevant under Rules 401 and 402 and not run afoul of Rule

403. See Mickens, 926 F.2d at 1328 (2d Cir. 1991); Ortiz, 857 F.2d at 903; Levy I, 731 F.2d 997

at 1002. Third, if the defendant requests that the jury be instructed as to the limited purpose for

which the government’s evidence is being admitted, the court must furnish such an instruction.

See Mickens, 926 F.2d at 1328-29; Levy I, 731 F.2d at 1002. It does not matter whether the

proffered acts occurred before or after the charged crime as long as relevancy is shown. United

States v. Langford, 990 F.2d 65, 70 (2d Cir. 1993) (“It is within the court’s discretion to admit

evidence of acts committed prior to the time charged in the indictment to prove the existence of

the alleged conspiracy as well as to show its background and history.”).

                 ii.   Discussion

                           a. Evidence of the Defendant’s Other Acts is Admissible Under
                              Federal Rule of Evidence 404(b)

               Evidence of the defendant’s other acts is admissible “to prove that the defendant

acted with the state of mind necessary to commit the offense[s] charged.” United

States v. Zackson, 12 F.3d 1178, 1182 (2d Cir.1993). At trial, the government is required to prove

that the defendant knowingly sexually exploited and attempted to sexually exploit his minor

victims, and that he knew the nature of the proscribed items – specifically, that he sought sexual

materials from his victims and, for the attempt charges, that he believed his victims to be minors.


                                                 27
See 18 U.S.C. § 2251(a), (e). The proffered evidence shows that the defendant had a sexual interest

in underage boys. See United States v. Kapordelis, 569 F.3d 1291, 1313 (11th Cir. 2009)

(admitting in trial for child pornography offenses evidence that the defendant previously traveled

abroad to engage in sexual acts with underage boys, regardless of the age-of-consent in the traveled

to country, as relevant to knowledge, identity, and absence of mistake); Sebolt, 460 F.3d at 917

(finding that admission into evidence of the defendant’s chats, which involved the defendant’s

recent attempts, missed opportunities, and potential future opportunities to molest children, was

appropriate under 404(b) because it was relevant to his motive to possess, transport, and advertise

child pornography); United States v. Dhingra, 371 F.3d 557, 566-67 (9th Cir. 2004) (where the

defendant was charged with using the Internet to entice a minor to engage in illicit sexual activity,

“prior incident was highly probative of [the defendant’s] intent and modus operandi with respect

to the present act”); United States v. Hall, No. 98-6421, 2000 WL 32010, at *4 (6th Cir. Jan. 4,

2000) (evidence of the defendant’s sexually explicit e-mail messages attempting to solicit child

pornography was admissible to establish knowledge and intent of receipt of child pornography).

               The government anticipates that the defendant may argue that he did not attempt to

create sexually explicit material, and that he did not believe that John Does 1-4 were minors. The

proffered evidence of the defendant’s other acts is highly relevant to counter these arguments. The

defendant’s possession of sexually explicit material involving other underage boys demonstrates

the defendant’s sexual interest in underage boys and provides significant evidence for purposes

other than showing the defendant’s proclivity.

               The proffered materials evidence the defendant’s knowledge of John Does 1-4’s

ages, as well as his motive and intent to create child pornography; they evidence that the

defendant’s efforts to create and his creation of child pornography was not due to mistake; and



                                                 28
they evidence that it was the defendant who attempted to create the sexually explicit material. See

Sebolt, 460 F.3d at 917 (finding that prior bad acts toward a young victim may show that a

defendant has a sexual interest in that age group and therefore provide evidence of a motive to

commit future sexually motivated crimes against children, and may serve to identify the defendant

as the perpetrator of the crime); United States v. Cunningham, 103 F.3d 553, 556 (7th Cir. 1996)

(“Most people do not have a taste for sexually molesting children. As between two suspected

molesters, then, only one of whom has a history of such molestation, the history establishes a

motive that enables the two suspects to be distinguished.”); see also United States v. Brand, 467

F.3d 179, 197 (2d Cir. 2006) (finding no abuse of discretion where the district court admitted

evidence under Rule 404(b) that the defendant possessed child pornography as highly probative of

intent and whether the defendant “intended to engage in illicit sexual activity,” noting that “the

government is required to establish only a similarity or some connection to establish that a prior

act is relevant to one of the elements . . . of the crime charged”), abrogated on other grounds, 13

F.4th 179, 196 (2d Cir. 2006).

                          b. The Defendant’s Other Acts are Not More Prejudicial than
                             Probative

               The proffered evidence is clearly relevant pursuant to Rules 401 and 402, offered

for a purpose other than propensity, and admissible under the Rule 403 balancing test as the

evidence “‘[does] not involve conduct any more sensational or disturbing than the crimes with

which [the defendant has been] charged.’” Pitre, 960 F.2d at 1120 (quoting United States v.

Roldan-Zapata, 916 F.2d 795, 804 (2d Cir. 1990)). Where the uncharged crimes are similar in

nature to the charged crimes, Rule 404(b) evidence is generally admissible under the Rule 403

balancing test. United States v. Livoti, 196 F.3d 322, 326 (2d Cir. 1999) (upholding admissibility

of evidence that the defendant, a police officer charged with engaging in excessive use of force


                                                29
with an arrestee, choked another arrestee, on the basis that “the evidence did not involve conduct

more inflammatory than the charged crime, and the district court gave a careful limiting

instruction”).

                 Specifically, the proffered evidence is limited to a small number of images of nude

males who appear to be teenage minors. This is not “any more sensational or disturbing” than the

conduct underlying the crimes charged, which entails the defendant’s producing and attempting to

produce sexually explicit material depicting children as young as twelve years old and engaging

in hands on sexual acts with two minor boys. As such, there is no risk of unfair prejudice. See

United States v. O’Connor, 650 F.3d 839, 853-54 (2d Cir. 2011) (where the defendant forced a

young girl to pose for pornographic photographs, excerpts from the defendant’s autobiography

describing the defendant molesting young girls who were asleep and describing the defendant’s

interest in child pornography were properly admitted); Pitre, 960 F.2d at 1120 (finding no error in

the admission of 404(b) evidence where the prior conduct “did not involve conduct any more

sensational or disturbing than the crimes with which the appellants were charged” (internal

quotation marks and alterations omitted)); see also Sebolt, 460 F.3d at 917. Any potential

prejudice is de minimis and can be eliminated through a limiting instruction. See Mickens, 926

F.2d at 1328-29; Levy I, 731 F.2d at 1002; United States v. Pipola, 83 F.3d 556, 566 (2d Cir.

1996).

IV.      The Court Should Allow The Undercover Law Enforcement Officer Who Communicated
         with the Defendant to Testify Using A Pseudonym or a UC Identifier

                 The government intends to introduce at trial messages on Snapchat between the

defendant and one UC law enforcement officer using John Doe 4’s Snapchat account. In

anticipation of this testimony, the government moves in limine to (i) permit the UC officer to

testify under a pseudonym or UC identifier rather than disclose the UC’s true identity in open


                                                 30
court; and (ii) preclude the defendant from inquiring into the UC officer’s true identity and other

investigations unrelated to the defendant or this case.

       A.      Applicable Law

               The Confrontation Clause of the Sixth Amendment guarantees the right of an

accused in a criminal prosecution to be confronted with the witnesses against him. See Dutton v.

Evans, 400 U.S. 74, 79 (1970). The right of confrontation, however, “is not absolute.” United

States v. Naseer, No. 10-CR-19 (RJD), 2015 WL 13843166, at *2 (E.D.N.Y. Jan. 26, 2015) (citing

Chambers, 410 U.S. at 295). In appropriate circumstances, the right must “bow to accommodate

other legitimate interests in the criminal trial process.” Id. “Generally speaking, the Confrontation

Clause guarantees an opportunity for effective cross-examination, not cross-examination that is

effective in whatever way, and to whatever extent, the defendant might wish.” Delaware v.

Fensterer, 474 U.S. 15, 20 (1985) (emphasis in original).

               The Second Circuit has repeatedly recognized the government’s strong interest in

protecting the identities of undercover agents based on concerns for their safety and the desire to

enable their continued work on ongoing and future investigations. See, e.g., Ayala v. Speckard,

131 F.3d 62, 72 (2d Cir. 1997) (“The state interest in maintaining the continued effectiveness of

an undercover officer is an extremely substantial interest . . . .”); United States ex rel. Lloyd v.

Vincent, 520 F.2d 1272, 1274 (2d Cir. 1975) (recognizing the strong government interest in

protecting the identities of undercover agents).

               The use of an alias by a testifying witness is permissible when the government’s

interest in maintaining the anonymity of its witness outweighs the defendant’s interest in

confronting the witnesses without limitation. See Roviaro v. United States, 353 U.S. 53 (1957).

In such instances, courts in this district and elsewhere have been willing to permit the use of an

alias, such as a pseudonym. See United States v. Asainov, No. 19-CR-402, ECF No. 122 at 26-27

                                                   31
(NGG) (E.D.N.Y. Jan. 13, 2023) (permitting confidential informant to testify under a pseudonym

and precluding questioning about the informant’s true identity); United States v. Kandic, No. 17-

CR-449 (NGG), ECF No. 266 at 13-14 (E.D.N.Y. Apr. 28, 2022) (same); Naseer, 2015 WL

13843166 at *3 (permitting undercover officers to testify using personal identification numbers).

               The use of a pseudonym or another identifier both have been found to be

appropriate because they do not curtail a defendant’s trial rights because “[t]he cross-examiner can

question the witness’ activities in the . . . operation without regard to the witness’ name, and

similarly has an opportunity to see and hear that which he testifies about.” Alvarado v. Burge, No.

05-CV-1851, 2006 WL 1840020, at *2 (S.D.N.Y. June 30, 2006); see also Nelson v. Crowley, No.

07-CV-849, 2009 WL 498909, at *5-6 (S.D.N.Y. Feb. 23, 2009) (observing that anonymous

testimony by undercover officer did not violate Confrontation Clause’s prohibition against

anonymous accusers and absentee witnesses); United States v. Baldassare, No. 11-CR-801 (JBW),

ECF No. 58 (E.D.N.Y. July 23, 2012) (granting protective order permitting undercover agent to

testify under pseudonym and limiting cross-examination).

       B.      Discussion

               The Court should (i) permit the UC officer to testify under a pseudonym or UC

identifier and (ii) preclude the defense from inquiring on cross-examination about the UC officer’s

true identity and other investigations unrelated to the defendant or this case.        The limited

restrictions sought here are similarly reasonable to those granted in prior cases, particularly

“insofar as the information that they preclude the defense from publicly eliciting—a UC’s [i.e.,

undercover officer] identity—is neither exculpatory as to [the defendant] nor evidently relevant at

trial.” United States v. Alimehmeti, 284 F. Supp. 3d 477, 491 (S.D.N.Y. 2018) (citing United

States v. Urena, 8 F. Supp. 3d 568, 573 (S.D.N.Y. 2014)); see also Kandic, ECF No. 266, at 13-14

(granting motion to refer to a confidential informant by a pseudonym agreed to by the parties).

                                                32
This is especially true where, as here, the UC officer’s true name has no specific relevance to the

case or to the UC officer’s credibility or knowledge regarding the topics about which the UC

officer will testify. See, e.g., Urena, 8 F. Supp. 3d at 573 (“UC–188’s true name is immaterial to

defendants’ guilt or innocence. The defendants will have access to all Giglio material associated

with UC–188’s true name, and will be able to freely cross-examine him on all topics other than his

identity. Moreover, nothing about UC–188’s real name goes to his credibility or knowledge

regarding the subject of his testimony. The limitation imposed on the defense is therefore

negligible.”).

                 In this case, the UC officer’s interactions with the defendant, which the government

intends to introduce at trial, were all captured in the Snapchat messages the government intends to

introduce at trial. The UC officer will testify regarding those communications. Additionally, the

government will provide the defendant with appropriate disclosures under Brady v. Maryland, 373

U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and 18 U.S.C. § 3500, which will

enable the defendant to mount an effective cross-examination. In light of the foregoing, the UC

officer’s true name has no relevance to the UC officer’s testimony and no impeachment value, and

the defendant will suffer no prejudice as a result of being precluded from cross-examining on those

topics. See Naseer, 2015 WL 13843166 at *3 (“Nothing about the witnesses’ true names goes to

their credibility or knowledge regarding the subject of their testimony.”).

                 Similarly, the defendant should be precluded from inquiring into other

investigations that the UC officer has been involved in that are unrelated to the defendant because

such information is irrelevant.     Disclosure of information regarding the UC officer’s other

investigations unrelated to this defendant could provide details regarding other investigations that

bear no relevance to the UC officer’s testimony regarding this case, and the defense should be



                                                  33
precluded from such inquiry. See generally Alimehmeti, 284 F. Supp. 3d at 494 (granting,

preliminarily, government motion to preclude defense inquiry into UC’s participation in unrelated

matters where defense had not articulated any basis on which such information was relevant). For

these reasons, the government’s motion should be granted.

V.     The Court Should Allow the Government to Admit Statements by John Doe 4 to His
       Mother Regarding the Charged Conduct For a Non-Hearsay Purpose

               The government plans to introduce testimony from John Doe 4 and John Doe 4’s

mother that John Doe 4 reported to his mother inappropriate communications with the defendant

and that this led to (i) his mother reviewing some of those communications and observing an

explicit image the defendant sent to John Doe 4 on Snapchat, (ii) his mother sending a message to

the defendant using John Doe 4’s Snapchat account and pretending to be John Doe 4, and (iii) a

report of the defendant’s conduct to law enforcement. Statements regarding these facts are

admissible because they are not being offered for the truth of the matter asserted, but rather to

establish relevant background facts and to demonstrate the effect of the statement on the listener

(John Doe 4’s mother): that John Doe 4 told his mother about his communications with the

defendant, which led her to review his phone, respond to the defendant herself using John Doe 4’s

account, and make a report to law enforcement. If necessary, certain of these statements may also

be offered as a prior consistent statement by John Doe 4 to rebut any attack on John Doe 4’s

credibility by the defendant.

       A.      Applicable Law

               Under the Federal Rules of Evidence, an out-of-court statement is hearsay only if

it is offered “to prove the truth of the matter asserted in the statement.” Fed. R. Evid. 801(c). For

an out-of-court statement to be received in evidence for a purpose other than its truth, the party

offering the statement must satisfy Federal Rules of Evidence 401 and 403 and demonstrate that:


                                                 34
“(1) the non-hearsay purpose for which the evidence is offered [is] relevant and (2) the probative

value of the evidence for this non-hearsay purpose [is] not [] outweighed by the danger of unfair

prejudice.” United States v. Paulino, 445 F.3d 211, 217 (2d Cir. 2006).

               An out-of-court statement may come into evidence a number of ways including to

show the effect on a witness’ state of mind, United States v. Dupree, 706 F.3d 131, 138 (2d Cir.

2013), or as relevant background to “clarif[y] noncontroversial matters without causing unfair

prejudice on significant disputed matters,” and as “appropriate rebuttal to initiatives launched by

the defendant.”     Paulino, 445 F.3d at 217 (internal citations and quotations omitted).

 In the latter scenario, pursuant to Federal Rule of Evidence 801(d)(1)(B)(ii), the Second Circuit

has upheld district court findings that prior consistent statements are admissible non-hearsay

statements under subsection (ii) when introduced to rebut “defendants’ attacks on [the declarant’s]

credibility and memory,” United States v. Flores, 945 F.3d 687, 706 (2d Cir. 2019), or “to rebut

[defense counsel’s] charge of inconsistency and to rehabilitate [the declarant’s] credibility by

placing the alleged discrepancies in context.” United States v. Purcell, 967 F.3d 159, 197 (2d Cir.

2020).

               When a party is seeking to admit evidence as relevant background or state of mind

evidence, the Second Circuit applies a four-part inquiry: “[1] Does the background or state of mind

evidence [bear upon] the defendant’s guilt? [2] If so, how important is it to the jury’s understanding

of the issues? [3] Can the needed explanation of background or state of mind be adequately

communicated by other less prejudicial evidence or by instructions? [4] Has the [adversary]

engaged in a tactic that justifiably opens the door to such evidence to avoid prejudice[.]” United

States v. Grecco, 728 F. App’x 32, 35 (2d Cir. 2018) (internal citations omitted); United States v.

Mackey, No. 21-CR-80-NGG, 2023 WL 2457861, at *4 (E.D.N.Y. Mar. 10, 2023) (same).



                                                 35
       B.      Discussion

               On or about May 19, 2023, John Doe 4, reported to his mother that he had been in

contact with the defendant and that communications between them were making him

uncomfortable. This led to John Doe 4’s mother reviewing the communications, including viewing

an explicit image sent by the defendant to John Doe 4 through Snapchat, responding to the

defendant using John Doe 4’s Snapchat account, and making a report to law enforcement about

the defendant’s conduct. John Doe 4’s report is important because Snapchat images can only be

viewed a certain number of times and after John Doe 4’s mother viewed the explicit image sent by

the defendant to John Doe 4, the image was no longer accessible and could not be viewed by law

enforcement. John Doe 4’s report to his mother also led to his mother responding to the defendant

using John Doe 4’s Snapchat account and going to law enforcement. As a result, law enforcement

then engaged in controlled messages with the defendant from John Doe 4’s Snapchat account. The

government intends to introduce the fact that John Doe 4’s mother became aware of the

communications after John Doe 4 reported the inappropriate contact to her as relevant background

information and evidence of her state of mind to explain why John Doe 4’s mother reviewed the

content of John Doe 4’s phone and responded to the defendant using John Doe 4’s account, and to

explain how the investigation into the defendant began as to John Doe 4.

               This evidence is admissible as both evidence of John Doe 4’s mother’s state of

mind and non-controversial background evidence as it shows how charges came to be brought

against the defendant as to John Doe 4. United States v. Daly, 842 F.2d 1380, 1388 (2d Cir. 1988)

(“Background evidence may be admitted to show, for example, the circumstances surrounding the

events or to furnish an explanation of the understanding or intent with which certain acts were

performed.”). It is also not prejudicial because it does not materially alter or change the evidence

that will generally be introduced at trial against the defendant. See Mackey, 2023 WL 2457861,

                                                36
at *4 (admitting non-hearsay evidence where it was related to the defendant’s guilt for the charged

conduct and important to the jury’s understanding of the issues); see also United States v. Nelson,

365 F. Supp. 2d 381, 392-93 (S.D.N.Y. 2005) (finding that background evidence was necessary to

avoid jurors having concerns about why police officers went to an apartment to retrieve guns);

United States v. Ryan, No. 3:23-CR-00291-WHO-1, 2023 WL 7284157, at *1 (N.D. Cal. Nov. 3,

2023) (admitting messages as non-hearsay evidence related to the charged crime to show why the

witness called the police).     Indeed, the controlled messages with law enforcement and the

defendant will come in as party admissions and John Doe 4, who is expected to testify and will be

subject to cross-examination, will introduce similar admissible evidence of his interactions with

the defendant.

                 Additionally, in the event that the defendant seeks to attack John Doe 4’s

credibility, the government would seek to introduce John Does 4’s report of the defendant’s

conduct to his mother as a prior consistent statement to rebut that attack. Paulino, 445 F.3d at 21.

Because the government’s introduction of this evidence would solely be for a non-hearsay purpose,

as detailed herein, it should be admitted.

VI.    The Court Should Allow the Government to Authenticate The Defendant’s Cellphone
       Extraction by Certification

                 The defendant’s cellphone was lawfully seized and reviewed in connection with the

charges in this case. In the interest of streamlining trial and avoiding unnecessary custodial

witnesses, the government would like to authenticate evidence from the defendant’s seized

cellphone through a record certification pursuant to Federal Rules of Evidence 902(13) and (14).

       A.        Applicable Law

                 Federal Rules of Evidence 902(13) and (14), provide a mechanism for parties to

authenticate evidence generated by electronic processes or systems. Specifically, Rule 902(13)


                                                 37
allows authentication by certification of “[a] record generated by an electronic process or system

that produces an accurate result,” and Rule 902(14) does the same for “[d]ata copied from an

electronic device, storage medium, or file, if authenticated by a process of digital identification.”

               “The bar for authentication of evidence under [Federal Rule of Evidence] 901(a) is

‘not particularly high.’” United States v. Bout, 651 Fed. App’x 62, 63 (2d Cir. 2016) (quoting

United States v. Gagliardi, 506 F.3d 140, 151 (2d Cir. 2007)). “It is met where ‘sufficient proof

has been introduced so that a reasonable juror could find in favor of authenticity or identification.’”

Id. at 63-64 (quoting United States v. Tin Yat Chin, 371 F.3d 31, 38 (2d Cir. 2004)). Moreover,

the Supreme Court has held that admitting evidence that has been authenticated by affidavit or

certificate does not violate a defendant’s right to confrontation because certifications are not

testimonial. See Melendez-Diaz v. Massachusetts, 557 U.S. 305 (2009); see also United States v.

Qualls, 613 F. App’x 25, 28 (2d Cir. 2015). As this Court recently found, the facts concerning the

electronic systems that generate electronic records and the processes of making electronic copies,

like the processes of maintaining business records, are not testimonial because they only establish

authenticity—that the records were generated by a reliable process and are what they purport to

be—and can therefore be established by certification without implicating the Confrontation

Clause. United States v. Otufale, No. 24-CR-170 (KAM), at *9-10 (E.D.N.Y. July 12, 2024);

United States v. Hunt, 534 F. Supp. 3d 233, 256 (E.D.N.Y. 2021) (holding it permissible to use

certifications to authenticate records from social media accounts over the objection of the

defendant).

       B.      Discussion

               In this case, law enforcement lawfully seized the defendant’s cellphone and the

government intends to introduce relevant communications, images, contacts, and other content


                                                  38
from the extraction of his cellphone. 8 The content from his cell phone should be admissible

through certification because forensic images of cellphones are generated by a standard process

that produces an accurate result. United States v. Dunnican, 961 F.3d 859, 872 (6th Cir. 2020)

(affirming district court’s decision to admit text message evidence extracted from defendant’s

phone as self-authenticating under FRE 902(14)); United States v. Anderson, 563 F. Supp. 3d 691,

695-96 (E.D. Mich. 2021) (finding text messages self-authenticating under FRE 902(14)).

Excerpts from such records that are generated using standard electronic systems and processes to

generate copies for use in discovery and as trial exhibits are examples of data copied from an

electronic device, storage medium, or file which may be authenticated by a process of digital

identification.    Accordingly, electronic evidence can be authenticated by certification of a

competent technician who performed the extraction and generated the copies rather than by the

live testimony. Id. (finding digital records sufficiently authenticated by certification).

                  For these reasons, the government should be permitted to authenticate and offer as

evidence content from the defendant’s cellphone by certification. This would streamline the

presentation of evidence at trial, eliminate unnecessary persons from the courtroom, and shorten

the amount of time that jurors will need to sit for trial, thereby promoting judicial efficiency.




        8
               Self-authentication of electronic evidence by certification establishes that
electronic evidence is authentic, not that it is relevant or non-hearsay. In this case, the
communications the government will introduce are not hearsay because they are opposing party
admissions pursuant to Federal Rule of Evidence 801(d)(2) and they are relevant because the
substance relates to the charges.
                                                  39
VII.    The Court Should Preclude Evidence and Argument Concerning Possible Punishment and
        Collateral Consequences

                The Court should preclude the defendant from referencing at trial any consequences

of his conviction because such evidence is irrelevant, unfairly prejudicial, and outside the province

of the jury.

        A.      Applicable Law

                Evidence regarding possible consequences the defendant may face if convicted

should be precluded because it is not relevant. Pursuant to Rule 401 of the Federal Rules of

Evidence, “[e]vidence is relevant if: (a) it has any tendency to make a fact more or less probable

than it would be without the evidence; and (b) the fact is of consequence in determining the action.”

Generally, relevant evidence is admissible and “[i]rrelevant evidence is not admissible.” See Fed.

R. Evid. 402. “[T]he district court has broad discretion to exclude evidence that is irrelevant . . . .”

United States v. Edwards, 631 F.2d 1049, 1051 (2d Cir. 1980); see also Fed. R. Evid. 403. The

defendant’s punishment is not a fact “of consequence” to be determined at trial. Therefore, any

evidence of those issues is not relevant. See Shannon v. United States, 512 U.S. 573, 579 (1994)

(“Information regarding the consequences of a verdict is . . . irrelevant to the jury’s task.”).

                Such evidence is not only irrelevant, but “invites [jurors] to ponder matters that are

not within their province, distracts them from their factfinding responsibilities, and creates a strong

possibility of confusion.” Id. Indeed, jurors are routinely instructed not to consider a defendant’s

punishment in determining a defendant’s guilt. See generally Sand, et al., Modern Federal Jury

Instructions (“Sand”), Instruction 9-1 (2017 ed.); see also Shannon, 512 U.S. at 579 (a jury “should

be admonished to reach its verdict without regard to what sentence might be imposed [and] not to

consider the consequences of their verdicts.” (internal citation omitted)); United States v. Watts,

934 F. Supp. 2d 451, 464-65 (E.D.N.Y. 2013) (“[I]t is well-established precedent that jurors should


                                                  40
not be informed about the possible consequences of their verdict due to the likelihood that

prejudice, unfairness, and confusion that would result.”).

               Courts have repeatedly precluded evidence of the potential sentences defendants

face on the grounds that such evidence is irrelevant, unfairly prejudicial, and outside the province

of the jury. See, e.g., United States v. Blume, 967 F.2d 45, 49 (2d Cir. 1992) (“Federal courts

usually instruct juries not to consider a verdict’s consequences.”); United States v. Lewis, 110 F.3d

417, 422 (7th Cir. 1997) (holding that district court correctly refused to permit defendant to argue

about the severity of his possible punishment); United States v. DiMarzo, 80 F.3d 656, 660 (1st

Cir. 1996) (district court “soundly excluded” evidence of a potentially harsh sentence because such

evidence “would have necessitated an unwarranted departure from the fundamental division of

responsibilities between judge and jury”). In short, guilt should determine punishment, not the

other way around. See United States v. Thomas, 116 F.3d 606, 614 (2d Cir. 1997) (“Nullification

is, by definition, a violation of a juror’s oath to apply the law as instructed by the court . . . . We

categorically reject the idea that, in a society committed to the rule of law, jury nullification is

desirable or that the courts may permit it to occur when it is within their authority to prevent.”).

       B.      Discussion

               The Court should preclude the defendant from referencing at trial any consequences

of his conviction. The defendant faces a mandatory statutory sentence of between fifteen years

and life imprisonment if convicted of offenses charged in the Superseding Indictment. The

government moves to preclude at trial any discussion of the defendant’s possible punishments or

collateral consequences of conviction. Such information could only serve to confuse the jury,

invite the jury to consider irrelevant information, and potentially ignore the Court’s instructions

due to sympathy for the defendant. Courts have consistently recognized that juries have no right

to nullify, and “trial courts have the duty to forestall or prevent such conduct.” Id. at 616.

                                                  41
Therefore, the Court should preclude the defendant from referencing potential punishment and

collateral consequences at trial. 9

                                           CONCLUSION

         For the foregoing reasons, the Court should grant the government’s motions in limine in

their entirety.

Dated:       Brooklyn, New York
             August 22, 2024
                                                        BREON PEACE
                                                        United States Attorney
                                                        Eastern District of New York
                                                        271 Cadman Plaza East
                                                        Brooklyn, New York 11201

                                                By:             /s/
                                                        Rachel A. Shanies
                                                        Lauren Bowman
                                                        Assistant United States Attorneys
                                                        (718) 254-7000




         9
                If the defendant exercises his right to testify, the government should be permitted
to cross-examine him regarding the potential consequences of conviction that he faces because,
under those circumstances, it is relevant to the defendant’s credibility as a witness. See Davis v.
Alaska, 415 U.S. 308, 316 (1974) (discussing use of cross-examination to reveal “possible biases,
prejudices, or ulterior motives of the witness as they may relate directly to issues . . . in the case at
hand. The partiality of a witness is subject to exploration at trial, and is always relevant as
discrediting the witness and affecting the weight of his testimony” (internal quotation omitted)).

                                                   42
